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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MALIBU MEDIA, LLC,                            )
                                              )
      Plaintiff                               )     No. 18 cv 5792
                                              )
      vs                                      )     Judge Kendall
                                              )
JOHN DOE, subscriber assigned IP              )     Magistrate Judge Kim
address 76.29.0.46,                           )
                                              )
      Defendant                               )

TO: All Parties via CM/ECF

PLEASE TAKE NOTICE that on September 7, 2018 at 9:00 am, or as soon thereafter
as I may be heard, I shall appear before the Honorable Virginia M. Kendall or any judge
sitting in her stead in Courtroom 2319 of the U.S. District Court of the Northern District
of Illinois, Eastern Division, 219 South Dearborn St., Chicago, Illinois and shall present
the following motion attached hereto: FOR DISCOVERY PRIOR TO RULE 26
CONFERENCE.



____________________________________________________________________
                       CERTIFICATE OF SERVICE

I hereby certify that on August 29, 2018, I provided service to the person or persons
listed above by the following means: CM/ECF

Signature: __/s/ Mary K. Schulz                        Date: August 29, 2018

Mary K. Schulz, 6183773
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